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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                               Plaintiffs,           Case No. 1:20-cv-03010-APM

 v.                                                  HON. AMIT P. MEHTA
 GOOGLE LLC,

                               Defendant.


 STATE OF COLORADO, et al.,

                               Plaintiffs,           Case No. 1:20-cv-03715-APM

 v.                                                  HON. AMIT P. MEHTA
 GOOGLE LLC,

                               Defendant.



   STIPULATED CONFIDENTIALITY MANAGEMENT ORDER REGARDING
 RESPONSIVE POST-TRIAL SUBMISSIONS AND INTERVENOR THE NEW YORK
          TIMES COMPANY’S MOTION FOR JUDICIAL ACCESS

       In order to maximize public access to the parties’ Responsive Proposed Findings of Fact

and Responsive Proposed Conclusions of Law (“Responsive Post-Trial Submissions”) and

address certain requests made by Intervenor The New York Times Company (“The Times”)

while providing for the protection of confidential information as allowed under the Federal Rules

of Civil Procedure and Local Rule 5.1(h), it is hereby ORDERED that all parties and non-parties

shall comply with each of the directives set forth below governing the disclosure of information

designated as “Confidential Information” or “Highly Confidential Information” pursuant to the
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Stipulated Protective Order entered in this matter, ECF No. 98 or the Stipulated Order on the Use

of Confidential Information at Trial, ECF No. 647:

   1. To facilitate expedient public access to the Responsive Post-Trial Submissions, the Court

orders that, by March 29, 2024, the parties shall file public, redacted versions of the parties’

Responsive Post-Trial Submissions that are consistent with the confidentiality rulings,

redactions, and disclosures to the cited documents and testimony made at trial. The parties shall

not disclose any information that was not publicly disclosed at trial that has been previously

identified as Confidential or Highly Confidential by a party or non-party, unless all parties and

non-parties with a confidentiality interest in such information have confirmed that it may be

publicly disclosed.

   2. To facilitate the subsequent filing of versions of the Responsive Post-Trial Submissions

with redactions consistent with the Court’s guidance and United States v. Hubbard, 650 F.2d 293

(D.C. Cir. 1980), the Court orders:

           a. If a party quoted or described in its Responsive Post-Trial Submissions any

               information not previously disclosed publicly at trial that a non-party maintained

               as Confidential or Highly Confidential, then by March 27, 2024, the party shall

               provide the applicable non-party with notice of the information quoted or

               described so that the non-party may identify any redactions it contends are

               warranted.

           b. By April 2, 2024, Google and non-parties shall provide proposed redactions to

               their Confidential or Highly Confidential Information in the parties’ Responsive

               Post-Trial Submissions.




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       c. By April 5, 2024, the parties and non-parties shall complete any necessary meet-

           and-confers regarding proposed redactions by Google or non-parties to the

           parties’ Responsive Post-Trial Submissions.

       d. By April 10, 2024 the parties and non-parties shall file brief position statements

           regarding any remaining disputes over proposed redactions to the Post-Trial

           Submissions or Responsive Post-Trial Submissions, including any disputes

           proposed using the processes set forth in ECF No. 831.

3. To facilitate access to certain exhibits and deposition designations sought by The Times

   in ECF No. 800, the Court orders:

       a. By April 2, 2024, Google and non-parties shall provide to the Times the following

           materials with any redactions that Google or the non-parties contend are

           warranted:

                i.   JX0024, JX0033, JX0037, JX0071, JX0091, and JX0099;

              ii.    The exhibits listed in Exhibit A to the Declaration of Al-Amyn Sumar,

                     ECF No. 800-4 and Exhibit B to the Declaration of Al-Amyn Sumar,

                     ECF No. 800-5;

              iii.   JX0062, UPX0129, UPX0161, UPX0617, and UPX6024; and

              iv.    The designations entered into evidence from the depositions of Shirley

                     Heath (Microsoft) and Mike James (Amazon).

       b. By April 5, 2024, Google and non-parties shall complete any necessary meet-and-

           confers with The Times regarding any redactions to the materials listed in

           paragraph 3(a).




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         c. By April 10, 2024, the parties, non-parties, and The Times shall file brief position

            statements regarding any disputes relating to redactions to the materials listed in

            paragraph 3(a).




         SO ORDERED.
                                                      Amit Digitally       signed
                                                                  by Amit Mehta


Dated: March ___, 2024
                                                      Mehta       Date: 2024.03.15
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                                                   ________________________________
                                                               Amit P. Mehta
                                                      Unites States District Court Judge




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